Filed 8/21/24 P. v. Addiego CA3
                                           NOT TO BE PUBLISHED
California Rules of Court, rule 8.1115(a), prohibits courts and parties from citing or relying on opinions not certified for
publication or ordered published, except as specified by rule 8.1115(b). This opinion has not been certified for publication
or ordered published for purposes of rule 8.1115.




                IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA
                                      THIRD APPELLATE DISTRICT
                                                        (Placer)
                                                            ----


 THE PEOPLE,                                                                                   C099598

                    Plaintiff and Respondent,                                      (Super. Ct. No. 62187245)

           v.

 MATTHEW ADDIEGO,

                    Defendant and Appellant.


         After a jury found defendant Matthew Addiego guilty of transporting a controlled
substance for sale and related crimes, the trial court placed him on formal probation for
two years. On appeal, Addiego raises four claims of misconduct by the prosecutor.
Three of those claims are forfeited on appeal, and the fourth lacks merit. Accordingly,
we affirm.
                                                  BACKGROUND
                                                             I
                                                Prosecution’s Case
         One morning in September 2022, a Placer County Sheriff’s deputy noticed an
expired registration sticker on the rear license plate of the gold Mercedes that Addiego



                                                             1
was driving. The deputy initiated a traffic stop and the interaction between the two men
was captured by the deputy’s in-car camera and lapel microphone.
       The deputy asked Addiego if he used drugs and if there was anything illegal in the
car. Addiego said no and begged the deputy not to search and tow his car. Unmoved, the
deputy searched the car and found a number of items including clear Ziplock baggies
containing a white crystal-like substance, which he suspected was methamphetamine
(meth), a used meth smoking pipe, a scale with a white substance on it, and a $20 bill.
Addiego placed his cell phone on the dashboard of the car when the deputy asked him to
step out of the car. No gun was found.
       A.     Cell Phone and “Pay/Owe” Ledgers
       The deputy seized Addiego’s phone. As for what happened next, the following
exchange occurred at trial:
       “[THE PROSECUTOR]: And did you ask the defendant for consent to look in the
phone to see if there is any messages that might be indicative of illegal activities?
       “[DEFENSE COUNSEL]: Objection, Your Honor, here. . . . Relevance.
       “THE COURT:· Objection sustained.
       “[THE PROSECUTOR]: Eventually, later on, did you author a search warrant to
search the cell phone?
       “[THE DEPUTY]: Yes, I did.”
       On cross-examination, the following exchange occurred between defense counsel
and the deputy:
       “[DEFENSE COUNSEL]: Now, you recovered a cell phone; is that right?
       “[THE DEPUTY]: Correct.
       “[DEFENSE COUNSEL]: And, sir, you authored, you helped prepare a search
warrant to look at the contents of the cell phone; is that right?
       “[THE DEPUTY]: That is correct.



                                              2
       “[DEFENSE COUNSEL]: And, sir, you didn’t find any text messages in the cell
phone, did you?
       “[THE DEPUTY]: The data from the cell phone was unable to be extracted.”
       Defense counsel also asked the deputy about “pay/owe sheets” and “ledgers,”
which the deputy agreed are used by dealers to record the date of drug sales and how
much money the buyer owes to the dealer. Defense counsel asked the deputy if he found
any pay/owe sheets or ledgers in the car. The deputy said he did not find either and
emphasized that was the reason he confiscated the cell phone.
       A digital forensics detective testified that while he had successfully extracted data
from over 400 cell phones (“normal android phones, iPhones mainly”) over the course of
nearly six years in the Placer County Sheriff’s Department, he was unable to extract any
data from Addiego’s cell phone, which was a phone brand he had never seen before that
did not appear to be supported by the tools he normally used on cross-examination. The
detective said he spent about two hours trying to extract data from the phone and did not
seek help from anyone else in the Placer County Sheriff’s Department or any outside
organizations, including the FBI. On redirect, the detective explained that he did not seek
outside help because he used the same tools and had the same training as anyone doing
digital forensics at the FBI.
       Also on redirect, and over defense counsel’s speculation objection, the prosecutor
posed the following counterfactual to the detective: “Had you been provided with a PIN
code to unlock the phone, would that have changed your ability to download the data?”
“Yes,” the detective replied, if he had the PIN, he would have entered it in the phone,
opened the phone, and extracted the data with the tools he normally used.
       B.     Seized Drugs
       Laboratory tests confirmed a total of about 14 grams of meth in the various plastic
bags the deputy found in Addiego’s car.



                                             3
       A detective in the Auburn Police Department who was assigned to a local
narcotics task force testified at trial as an expert on drug use and drug sales. The
detective opined that Addiego intended to sell the meth found in his car, which had a
street value of about $300. He explained: “You have multiple baggies, you have a scale
that shows that the person was weighing his drugs for the purpose of sales. You also
have . . . money that’s consistent [with] sales.” He explained that in his experience drug
dealers rarely have physical “pay/owe” sheets at present, because “[e]verything is done
digitally with phones.”
       The detective further explained that some meth users are also low-level dealers,
and a heavy user might consume 0.2 grams every six to eight hours. Thus, the detective
testified, the roughly 14 grams of meth found in Addiego’s car amounted to more than
two weeks’ worth of meth for a heavy user.
                                             II
                                 Addiego’s Case-in-Chief
       A.     Defense Expert
       A former special agent for the Drug Enforcement Administration testified as an
expert witness for Addiego and opined that the meth found in Addiego’s car was for
personal use. He explained: (1) many drug dealers carry guns to protect themselves and
their drugs, including low-level dealers1; (2) at least 50 times in his career he recovered
scales from drug users, who used the scales (a) to confirm they are getting what they pay
for and (b) to determine the amount of a drug necessary to get high while avoiding an
overdose; (3) the single $20 bill found inside Addiego’s car was not indicative of drug
sales, as the low-level dealers he interacted with had, on average, several hundred to a
couple thousand dollars of cash in their possession; and (4) many users, “if they . . . come




1 About 90 percent of the drug dealers he arrested in his career had guns.



                                              4
into any money will buy as much as they can,” because they can get more drugs at a
lower price by buying in bulk.
       In response to defense counsel’s questions about “pay/owe” sheets and ledgers, the
expert witness testified he had seen low-level dealers with “pay/owe” sheets and ledgers,
but rarely, because “most of the stuff is on the phone.”
       Regarding cell phones generally and hypothetically, defense counsel asked his
expert witness: “[I]n a case where someone is arrested . . . for drugs and you have a cell
phone there, sir, what is your immediate objective with the cell phone?” “First thing I
would immediately ask for consent to search the phone,” the witness testified. “And then
get the pass code, and then we would go to the text section.”
       Regarding Addiego’s cell phone specifically, the following exchange occurred
between defense counsel and the defense witness:
       “[DEFENSE COUNSEL]: And you know that the cell phone here, that there were
no text messages recovered, correct?
       “[DEFENSE EXPERT]: Correct.
       “[DEFENSE COUNSEL]: And, sir, as a DEA agent have you done forensic cell
phone analysis on phones?
       “[DEFENSE EXPERT]: Yes, . . . I helped our tech guy do it several times at the
DEA. And if for some reason we weren’t able to get into it, we would send it down to
. . . the FBI [lab] down the street, or if not we could send it to Quantico[, Virginia]
because their lab there can break into basically everything.
       “[¶]. . . [¶]
       “[DEFENSE COUNSEL]: And, sir, that location, you know it also receives
phones from jurisdictions from all over the country, correct?
       “[DEFENSE EXPERT]: They’ll take phones from any local, county, state or
federal case.”



                                              5
        On cross-examination, the prosecutor questioned the defense expert about cell
phone data, and what happens when the owner of a cell phone is unwilling to reveal the
passcode that unlocks a phone.
        “[THE PROSECUTOR]: [Y]ou described that oftentimes when you would seize a
cell phone you would get consent from the person and then be able to go into the phone.
        “[DEFENSE EXPERT]: If possible.
        “[THE PROSECUTOR]: What do you do when you don’t have consent from
them?
        “[DEFENSE EXPERT]: Then we would have to get a warrant.
        “[THE PROSECUTOR]: And once you get a warrant, are you then able to access
the phone?
        “[DEFENSE EXPERT]: Well, if we had a warrant, then we would have to -- if
the cell phone was password protected and the person wasn’t willing to cooperate at that
point and give the password, then we would have to use different programs that we have
to get into them. Or . . . we could ask another federal . . . . [¶] . . . And then if not, then
we send it down to Quantico and they have experts [who] have gotten into everything
I’ve sent down there.
        “[THE PROSECUTOR]: So having the pass code, that would make it easier.
        “[DEFENSE EXPERT]: Yes.”
        Later, the prosecutor asked, without objection from defense counsel, what the
benefit would be for a low-level dealer to consent to a search of a cell phone that contains
incriminating information. The defense expert replied: “If there is incriminating
evidence on it, then probably I would assume that they wouldn’t want us to look at it.
That we would just seize it and get a warrant and we would look at it anyway. Because
then that would give us additional probable cause to show that there is probably
something on it.”



                                                6
       On redirect, the expert witness agreed with defense counsel that the Fourth
Amendment protects the right to refuse to consent to a search of one’s phone by law
enforcement.
       B.      Addiego’s Testimony
       Taking the stand in his own defense, Addiego testified that when the deputy
sheriff stopped his car in September 2022, he had been using meth for about one year and
was addicted. He used it three to 10 times a day, consuming one to 3.0 grams a day. He
used the $20 bill found in his car to ingest meth, and the scale found in his car to “keep
[his] use in check.” The meth found in his car was exclusively for his personal use
because he does not sell it.
       On cross-examination, Addiego said the deputy sheriff asked him to unlock his
phone. The prosecutor next asked: “He didn’t ask you, can I look at your phone to see if
there is any messages or anything that would show you’re a dealer?” “No, sir,” Addiego
replied. This exchange followed:
       “[THE PROSECUTOR]: Had he asked you to look at the messages, would you
have agreed?
       “[DEFENSE COUNSEL]: Objection, Your Honor, going into areas here that calls
for speculation, also Fourth Amendment rights here. . . .
       “THE COURT: He has made a choice to testify today, so it kind of opens the door
to lots of things here. So objection is overruled. . . .
       “[¶] . . . [¶]
       “[THE PROSECUTOR]: If the deputy asked you to look at your phone to see if
there’s any messages that would indicate sales of methamphetamine, would you have
agreed to show him your phone, the messages?
       “[ADDIEGO]: No, I don’t believe I would.”
       On redirect, Addiego testified he did not allow the deputy sheriff to search his
phone because his phone is private.

                                               7
                                              III
                                   Prosecution’s Rebuttal
       The prosecution’s expert on drug use and drug sales testified on rebuttal that it was
“very unrealistic” that Addiego would be consuming up to three grams of
methamphetamine a day after one year of using. He explained that only a long-time
heavy methamphetamine user on a “bender[]” would use three grams in a single day.
                                              IV
                                      Closing Arguments
       In closing argument to the jury, the prosecutor maintained that Addiego’s intent
was the key area of disagreement. “Is it for sale or personal use?” The answer, he
maintained, was that Addiego intended to sell at least some of the drugs. “[M]ake sure
that you hold me to my burden, and that is to prove each element beyond a reasonable
doubt,” the prosecutor said.
       Defense counsel argued to the jury that law enforcement could not find any text
messages on Addiego’s cell phone. Referring to the forensics detective who was unable
to extract any data from Addiego’s phone, defense counsel argued: “He goes somewhere
two hours, looks at it. . . . Two hours, I couldn’t get anything out of it, goes to this one
place. That’s it, I’m done. . . . They just gave up?” Counsel returned to this line of
argument later: “All you’ve got to do is pick up the phone, call FBI, Quantico, we’ve got
an issue here with a phone. Can you help us with that?” “You’re law enforcement; you
get on it. There are no shortcuts.”
       Defense counsel then emphasized what was not in evidence: “Where is the U.S.
currency, multiple denominations? We don’t have any. . . . Where are the guns? We
don’t have any. Where are the ledgers, digital or manual? We don’t have any. Where
are the pay/owe sheets, digital or manual? We don’t have any.” Addiego was “not in the
business of selling,” counsel maintained. “He’s not a tradesman in the art of drug dealing
or drug selling. He’s in the art of possession of [a] controlled substance for him to use.”

                                              8
       In rebuttal, the prosecutor responded to defense counsel’s comment that no text
messages were found on Addiego’s phone. “It wasn’t for lack of trying,” the prosecutor
said. A detective unsuccessfully tried two different software and hardware applications
to access the data in Addiego’s phone. “[T]hat probably wouldn’t have been necessary
had he had the PIN code to open that phone,” the prosecutor argued. The detective
“would have been able to unlock the phone without even needing” the special software
and hardware. “And what we heard today is that the defendant didn’t consent to that
phone being searched.”
       The prosecutor then reminded the jury of the defense expert’s testimony regarding
cell phone searches: “[H]e testified . . . that when people don’t consent to search a
phone, they go and get a warrant. And they do that based on probable cause, because
now they certainly believe that there is something illegal on that phone.” Defense
counsel objected that the prosecutor was misstating the evidence. “That’s what he
testified to,” the trial court explained when overruling the objection. The prosecutor told
the jury Addiego “took the stand and . . . said that he is a user” after “[h]e waited to hear
all of the evidence in the case.” Defense counsel objected the comment was “improper
argument.” The trial court agreed, “he couldn’t testify before that.”
       At the end of his rebuttal argument, the prosecutor told the jury: “Hold me to my
burden of proving the case beyond a reasonable doubt. Please do. We want that. . . . We
don’t convict people just because of how we feel or what is fair and unfair.”
                                              V
                       Motion for Mistrial, Verdicts, and Sentencing
       After the trial court instructed the jury and outside of their presence, defense
counsel made an oral motion for a mistrial because of the prosecutor’s comment that
Addiego waited to hear the evidence against him before testifying. The trial court denied
the motion a few days later, finding that the comment was not improper under People v.
Miller (1990) 50 Cal.3d 954, 996 and Portuondo v. Agard (2000) 529 U.S. 61.

                                              9
       The jury found Addiego guilty of transporting and possessing a controlled
substance for the purposes of sale, and misdemeanor possession of drug paraphernalia.
(Health &amp; Saf. Code, §§ 11379, subd. (a), 11378, 11364, subd. (a).) In September 2023,
the trial court placed Addiego on formal probation for two years and he appealed.
                                        DISCUSSION
       Addiego alleges prosecutorial misconduct on four distinct grounds: (1) cross-
examination and argument to the jury regarding his refusal to consent to a cell phone
search was impermissible comment on the exercise of a Fifth Amendment privilege
against self-incrimination and thereby violated his due process rights; (2) cross-
examination and argument was also impermissible comment on the exercise of his Fourth
Amendment right against unreasonable searches; (3) the prosecutor shifted its burden of
proof to the defense; and (4) argument to the jury on the timing of his testimony violated
his right against self-incrimination and thereby violated his rights to due process and a
fair trial. In relation to the first and third claims, Addiego also argues that his trial
counsel was ineffective by failing to raise those two specific claims with the trial court.
The People contend all four claims are forfeited on appeal and lack merit, and that any
possible error was harmless.
       We conclude Addiego’s first three claims are forfeited on appeal and the fourth
claim lacks merit.
                                                I
                     Background Principles of Prosecutorial Misconduct
                            and Ineffective Assistance of Counsel
       A defendant may not complain of prosecutorial misconduct on direct appeal
absent both a timely objection to the misconduct in the trial court on the same grounds
raised on appeal and a request that the jury be admonished to disregard the alleged
misconduct. If trial counsel did not object at trial to the alleged prosecutorial misconduct,
a criminal defendant can argue on appeal, like Addiego does here in connection with two

                                               10
of his four claims, that counsel’s inaction violated the constitutional right to effective
assistance of counsel. But the appellate record “rarely shows that the failure to object
was the result of counsel’s incompetence.” (People v. Lopez (2008) 42 Cal.4th 960, 966.)
       To demonstrate ineffective assistance of counsel, a criminal defendant must show
that counsel’s deficient performance prejudiced the defense. On direct appeal, a finding
of deficient performance is warranted where (1) the record affirmatively discloses
counsel had no rational tactical purpose for the challenged act or omission, (2) counsel
was asked for a reason and failed to provide one, or (3) there simply could be no
satisfactory explanation. Where trial counsel’s tactics or strategic reasons for challenged
decisions do not appear on the record, the court must not find ineffective assistance of
counsel on appeal unless there could be no conceivable reason for the acts or omissions.
(People v. Johnsen (2021) 10 Cal.5th 1116, 1165; see People v. Mendoza Tello (1997) 15
Cal.4th 264, 267, 268 [“[a]n appellate court should not . . . brand a defense attorney
incompetent unless it can be truly confident all the relevant facts have been developed”].)
                                              II
                            Cell Phone Fifth Amendment Claim
       Addiego contends the prosecutor’s questioning of witnesses and rebuttal argument
regarding his refusal to unlock his phone were impermissible comments on his exercise
of a Fifth Amendment right not to incriminate himself as elucidated in Doyle v. Ohio
(1976) 426 U.S. 610 and Griffin v. California (1965) 380 U.S. 609. We agree with the
People that this claim is forfeited on appeal because it was not raised below and there
could be a satisfactory explanation why trial counsel acted as he did.
       A.     Additional Background
       In a pretrial motion to admit evidence of statements that Addiego made to the
deputy before his arrest, the People asserted that after an initial exchange in which
Addiego insisted there was nothing illegal in his car and he did not use drugs, the deputy



                                              11
“advised [Addiego] of his rights per Miranda,[2] and [Addiego] invoked.” When the
parties and the trial court later discussed this motion, defense counsel said he had no
objection to the admission of Addiego’s pre-arrest statements but asked that no reference
be made to Addiego’s invocation of his Miranda rights. The prosecutor responded that
the tape he prepared and provided to defense counsel was edited from the original to cut
off before the invocation of rights and was “only about a minute, minute and a half long.
So we’re really not even getting close to the point where we get to any sort of Miranda
advisements being given to the defendant.”
       B.     Relevant Fifth Amendment Principles
       While the Fifth Amendment provides that no person may be compelled to
incriminate themself in a criminal case, this is not an unqualified right to remain silent.
The Fifth Amendment is concerned with coercion by the government, such as in cases
where a prosecutor “invites the jury to draw adverse inferences from a defendant’s failure
to take the witness stand. [Citation.] Although Griffin included a general statement that
the Fifth Amendment ‘forbids either comment by the prosecution on the accused’s
silence or instructions by the court that such silence is evidence of guilt’ (Griffin v.
California, supra, 380 U.S. at p. 615), the court has since clarified that the ‘broad dicta in
Griffin . . . must be taken in the light of the facts of that case’—a prosecutor’s comment
on a defendant’s right not to testify at trial.” (People v. Tom (2014) 59 Cal.4th 1210,
1222-1223 (Tom).)
       “[T]he Fifth Amendment privilege against self-incrimination does not
categorically bar the prosecution from relying on a defendant’s pretrial silence. The
prosecution may use a defendant’s pretrial silence as impeachment, provided the
defendant has not yet been Mirandized. (Fletcher v. Weir (1982) 455 U.S. 603



2 Miranda v. Arizona (1966) 384 U.S. 436.



                                              12
[postarrest silence]; Jenkins v. Anderson (1980) 447 U.S. 231 . . . [prearrest silence]; cf.
Doyle . . . [postarrest, post-Miranda silence is not admissible as impeachment].) The
prosecution may also use a defendant’s prearrest silence in response to an officer’s
question as substantive evidence of guilt, provided the defendant has not expressly
invoked the privilege.” (Tom, supra, 59 Cal.4th at p. 1223.)
       C.     Analysis
       Here, Addiego argues there could be no possible tactical reason why trial counsel
failed to raise a claim of prosecutorial misconduct relating to Doyle and Griffin error. He
argues this is so because any conversation he had with the deputy regarding his cell
phone must have occurred after he invoked his Miranda rights. In support of this
ostensible factual certainty, Addiego invokes the above discussion of the prosecutor’s
pre-trial motion and the transcript of the audio recording of the traffic stop entered into
evidence, neither of which referenced or contained any conversation regarding a cell
phone. We are not persuaded.
       As the People observe, this contention has a gap in its logic.3 Consider a
hypothetical five-minute conversation between a police officer and a driver who is read
Miranda rights at the beginning of the fifth minute and thereafter invokes the right to
remain silent. If we know only what was said in the first minute and a half, it does not
follow that any conversation occurred after invocation of the right to remain silent. There
are at least two and one-half minutes unaccounted for under that theory. Likewise, here it
is plausible the pertinent discussion about Addiego’s cell phone occurred after the portion
of his conversation with the deputy that was admitted into evidence but before Addiego
was read his Miranda rights. And that plausibility makes the ineffective assistance claim
unpersuasive. Perhaps trial counsel did not raise a claim of Doyle error because he knew




3 Addiego does not respond to this observation in his reply brief.



                                             13
the cell phone conversation happened before Addiego was read and invoked his rights.
(See People v. Mendoza Tello, supra, 15 Cal.4th at pp. 267-268; Tom, supra, 59 Cal.4th
at p. 1223 [Doyle concerns postarrest, post-Miranda silence].)
        As for the alleged Griffin error, trial counsel is not ineffective by failing to raise a
meritless argument. Addiego testified at trial, so Griffin was not implicated. (Tom,
supra, 59 Cal.4th at p. 1223 [Griffin concerns a “defendant’s right not to testify at
trial”].) Accordingly, this claim is forfeited on appeal because it was not raised below
and there is a conceivable reason why trial counsel acted as he did.
                                               III
                                  Fourth Amendment Claim
        Addiego contends the prosecutor’s questioning and comments regarding his
refusal to allow the deputy to search his phone improperly penalized him for exercising
his Fourth Amendment rights. We agree with the People that this claim is forfeited on
appeal because Addiego did not raise it below. Addiego neither contests the People’s
assertion that he failed to raise this specific claim of prosecutorial misconduct below nor
offers any reason why we should consider it despite that failure. Accordingly, we will
not consider this claim. (See People v. Lopez, supra, 42 Cal.4th at p. 966.)
                                               IV
                                Shifted-Burden-of-Proof Claim
        The due process clause of the Fourteenth Amendment “protects the accused
against conviction except upon proof beyond a reasonable doubt of every fact necessary
to constitute the crime with which he is charged.” (In re Winship (1970) 397 U.S. 358,
364.)
        Addiego contends the prosecutor improperly shifted the burden of proof onto the
defense by (1) asking him if he would have agreed to show text messages on his phone to
the deputy if the deputy had asked, (2) eliciting testimony from the digital forensics
detective that data from Addiego’s phone easily could have been extracted with the PIN

                                               14
code, (3) eliciting testimony from the defense expert that someone suspected of drug
dealing would not consent to a search of a cell phone that has incriminating evidence. He
further contends trial counsel provided ineffective assistance by failing to raise this claim
below.
         We agree with the People that this claim is forfeited on appeal because it was not
raised below and there could be a satisfactory explanation why trial counsel acted as he
did.
         A.     Additional Legal Background
         There is a strong presumption that counsel’s conduct falls within the wide range of
reasonableness, and reviewing courts should not second-guess what may be difficult
tactical decisions at trial, even if a tactical error can be gleaned under the “ ‘harsh light of
hindsight.’ ” (People v. Weaver (2001) 26 Cal.4th 876, 925-926.) A decision whether to
object to testimony is “ ‘highly tactical, and depends upon counsel’s evaluation of the
gravity of the problem and whether objection or other responses would serve only to
highlight the undesirable testimony.’ ” (People v. Seumanu (2015) 61 Cal.4th 1293,
1313.) Because trial counsel “ ‘is best able to determine proper tactics in the light of the
jury’s apparent reaction to the proceedings,’ ” competent counsel might “forgo even a
valid objection.” (People v. Riel (2000) 22 Cal.4th 1153, 1197.)
         B.     Analysis
         It is plausible trial counsel chose not to object to avoid highlighting the evidence
on which that shift rested. Perhaps, in light of the jury’s reaction to the proceedings,
counsel believed the trial court’s jury instructions and his closing argument would cure a
suggestion by the prosecutor that Addiego had an evidentiary burden. Perhaps trial
counsel wanted to emphasize what he hoped would appear to be an overall weak case by
the prosecution and inadequate investigation by law enforcement. As the cases
immediately above explain, such tactical decisions do not amount to ineffective
assistance of counsel.

                                               15
       It is worth noting that counsel objected when the prosecutor said in rebuttal
argument that the defense expert “testified . . . that when people don’t consent to search a
phone, they go and get a warrant. And they do that based on probable cause, because
now they certainly believe that there is something illegal on that phone.” Counsel
objected the prosecutor was misstating the evidence. The trial court correctly overruled
the objection, as the prosecutor indeed was faithfully paraphrasing the defense expert’s
testimony.4
                                             V
                           Testimonial Fifth Amendment Claim
       Addiego contends the prosecutor violated his right against self-incrimination when
commenting in rebuttal argument to the jury that he “took the stand and . . . said that he is
a user” after “[h]e waited to hear all of the evidence in the case.” He contends this
comment violated his rights under Doyle and Griffin as it impermissibly asked the jury to
disbelieve his testimony because he did mention his drug use to the deputy when arrested.
We are not persuaded.
       The prosecutor did not invite the jury to penalize Addiego for postarrest silence.
He invited the jury to consider that Addiego was able to hear the prosecution’s evidence
during the trial and then tailor his testimony accordingly. We agree with the People this
was fair argument under Portuondo v. Agard, supra, 529 U.S. 61, wherein the United



4 Two observations are worth noting. First, in the context of claims of prosecutorial
misconduct in shifting the burden of proof, there is an important distinction
“ ‘between . . . permissible comment’ ” by a prosecutor “ ‘that a defendant has not
produced any evidence’ ” on the one hand and “ ‘improper statement that a defendant has
a duty or burden to produce evidence, or a duty or burden to prove his or her
innocence’ ” on the other hand. (People v. Steskal (2021) 11 Cal.5th 332, 352, italics
added.) Second, in closing, argument the prosecutor asked the jury to “hold [him] to [his]
burden . . . to prove each element beyond a reasonable doubt.” Similarly, he told the jury
in rebuttal to “[h]old [him] to [his] burden of proving the case beyond a reasonable
doubt.”

                                             16
States Supreme Court ruled it is appropriate to treat a criminal defendant the same as any
other witness who has an opportunity to tailor testimony after hearing other witnesses
testify first.5 (Id. at p. 73.)
                                     DISPOSITION
        The judgment is affirmed.



                                                     /s/
                                                 BOULWARE EURIE, J.



We concur:



    /s/
DUARTE, Acting P. J.



    /s/
MESIWALA, J.




5 We note Addiego does not discuss Portuondo v. Agard in his briefing. And we
disagree with the People that this claim is forfeited on appeal because trial counsel
objected to the comment only as “improper argument” and not specifically on grounds of
prosecutorial misconduct. The objection and related motion for mistrial preserved the
claim. (See People v. Hubbard (2020) 52 Cal.App.5th 555, 563 [disagreeing with the
People’s contention that the defendant forfeited an argument “by not objecting on the
basis of a federal constitutional error,” where the defendant argued the prosecutor “had
made ‘an improper argument’ by highlighting that he did not testify and implying that he
should have testified to support his trial counsel’s version of the events”].)

                                            17
